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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       10/21/2020



 Donna Hedges,

                         Plaintiff,
                                                                                   20-cv-6324 (AJN)
                 –v–
                                                                                        ORDER
 Limestone University,

                         Defendant.



ALISON J. NATHAN, District Judge:

         It having been reported to this Court that this case has been settled, it is hereby
ORDERED that the above-captioned action is discontinued without costs to any party and
without prejudice to restoring the action to this Court’s calendar if the application to restore the
action is made within thirty days. To be clear, any application to reopen must be filed within
thirty days of this Order; any application to reopen filed thereafter may be denied solely on that
basis.
         All scheduled conferences are hereby adjourned. Within the thirty-day period provided
for in this Order, the parties may submit to the Court their own Stipulation of Dismissal for the
Court to So Order. Pursuant to Rule 5.A. of the Court’s Individual Practices in Civil Cases, the
Court will not retain jurisdiction to enforce a settlement agreement unless the terms of the
agreement are made part of the public record.

         SO ORDERED.


Dated: October 21, 2020                              __________________________________
       New York, New York                                     ALISON J. NATHAN
                                                            United States District Judge
